Case 1:10-cr-00317-REB Document 735-2 Filed 01/17/14 USDC Colorado Page 1 of 8

NOTICE OF AND RESCISSION OF REPLY TO GOVERNMENT'S RESPONSE TO
MOTION TO ANSWER A CERTIFIED QUESTION OF LAW RELATED TO
JURISDICTION IN THIS CASE AND AN OFFER OF PROOF AND MOTION

FOR JUDGMENT ON THE PLEADINGS FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: “Case 1:10-cr-00317-REB Document 393 Filed 1/11/12 USDC Colorado Page 1 of
7 No. 10-CR-00317-REB REPLY TO GOVERNMENT'S RESPONSE TO MOTION TO ANSWER A CERTIFIED
QUESTION OF LAW RELATED TO JURISDICTION IN THIS CASE AND AN OFFER OF PROOF AND MOTION
FOR JUDGMENT ON THE PLEADINGS, Page 2 of 7, Page 3 of 7, Page 4 of 7, Page 5 of 7 Richard
Kellogg Armstrong, Page 6 of 7 10 day of JAN 2012 Richard Kellogg Armstrong, Page 7 of 7"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "Case 1:10-cr-00317-REB Document
393 Filed 1/11/12 USDC Colorado Page 1 of 7 No. 10-CR-00317-REB REPLY TO GOVERNMENT'S
RESPONSE TO MOTION TO ANSWER A CERTIFIED QUESTION OF LAW RELATED TO JURISDICTION IN THIS
CASE AND AN OFFER OF PROOF AND MOTION FOR JUDGMENT ON THE PLEADINGS, Page 2 of 7, Page 3
of 7, Page 4 of 7, Page 5 of 7 Richard Kellogg Armstrong, Page 6 of 7 10 day of JAN 2012
Richard Kellogg Armstrong, Page 7 of 7" including every copy bearing my signature and
date, for cause. I made a mistake creating, signing and presenting the REPLY TO
GOVERNMENT'S RESPONSE TO MOTION TO ANSWER A CERTIFIED QUESTION OF LAW RELATED TO
JURISDICTION IN THIS CASE AND AN OFFER OF PROOF AND MOTION FOR JUDGMENT ON THE PLEADINGS.
I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

Limy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a birds from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

F I L E Sincerely ,
a?
D facta Metta Gan APy
UNITED STATES DISTRICT COURT Yew od. Hee Os @
DENVER, COLORADO Richard Kellogg Armstrong
c/o 20413-298
JAN 1 7 2014 Federal Correctional
Institution - Lompoc
JEFFREY P. COLWELL 3600 Guard Road
CLERK Lompoc, California

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Page 1 af 2
Case 1:10-cr-00317-REB Document 735-2 Filed 01/17/14 USDC Colorado Page 2 of 8

Case 1:10-cr-00317-REB Document 393 Filed 01/11/12 USDC Colorado Page 1 of 7

IN THE UNITED STATES DISTRICECOURT .
FOR THE DISTRICT OF COL 0 1508
DENVER DIVISION 99|7 JAI 1 Pa}
wpe 7 ae 2aniaH
UNITED STATES OF AMERICA § GREGS 2
Plaintiff, Rw §

TIS L MORIS,

 

REPLY TO GOVERNMENT’S PONSE TO MOTION TO AN: A
ERTIFIED QUESTION OF LAW TED TO JURISDICTION
E AND AN OFFER OF PROOE AND MOTION FOR JUDGME
PL INGS

és this reply to the coven fod
te

eu
The government’s response shopldee stricken as lacking creditability 4nd
me

   

y. The government’s response sh also be stricken because the US

~ lared Article I, Section 5, Clause 1, of the Constitution of the United Stites
_frivolous”, which is perjury of oath of 0 the US Attorney should be refdged f
charges for perjury of oath of om The US Attorney is also in vite

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‘omey’s oath of office to uphold the @orjstitution, and the violation is gro for

sal, loss of pension, referral to the stat ; and removal from office. Since

 

A ey has violated their oath of office hmitted criminal charges, the U
orney should now be declared a te rist-N A 2012.
Alternatively, the government nse should be denied as lacking evidentiary

e
egal support and the US attorney should be referred for disciplinary action. The US

“Atto y attempts to act as a fact witness, which is hearsay and not legal.
Case 1:10-cr-00317-REB Document 735-2 Filed 01/17/14 USDC Colorado Page 3 of 8

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A. “The Government Mistakenly Overlooked his filing”

On page 1 of the government’s response the government attempts to avoid their

Preto by stating that the government
on me while I throw up. That statement dco lusory, and lacks evidenti
Attorney is acting as its own fact is i .
fi to respond to the court’s show cause dy then the court provided another \
B= order, and the government respo that it “mistakenly vero f\
order”. Let me throw up again. This isthe overnment, that is responsible for
a the people. Did the US Attorney men overlook going home to €\
fay last night? Did the US Attorney mis y \eriook that he took an oath of

~~

\ to uphold the Constitution? Did the US ey mistakenly overlook that he is a
of the Constitution above all else? a“ ch‘leeway exists in federal otf\
*: for the government. The govern response should be stricken as

lagking credibility and lacking evidentiary support and the US Attomey should be V/\

“mistakenly overlooked his fil

     

 
  

  

for dismissal from office and stripy is/hYy benefits.
N . The Government’s Statement that the Argument is Frivolous is Withgut
Merit \
. \
© government on page 2 states that Arijistrong’s argument is frivolous.

\ >
stitution of the United States i

   

   
  
 

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Therefore, the government is now stating that the'¢
ath of office to uphold the
€ argument by Defendant is very

when the House “passed” Public Law 80-772 and no quorum was in place on June 23,
Case 1:10-cr-00317-REB Document 735-2 Filed 01/17/14 USDC Colorado Page 4 of 8

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1948 when the Speaker of the House and President pro tempore of the Senate voted on

Public Law 80-772. Article 1, Section 5, Clause 1, of the Constitution. The US attorney
Maou be referred by the court for disciplinary action, disbarment, and investigation on

al charges.

     
 

C. The Government’s Statemen the Court Has Already Dee
the Issue Makes the Court a irator

  

~ The government next states that the\Court has already determined i * \
" jurisdiction in the case. Dost s this Court has previously pugit,
‘ ng’s argument that Title 18 was engged in violation of the Quorum Vf.
BR in is [a] frivolous challenge....”. Bees at 6.

The government fails to state that onJune 16, 2011, the Supreme Court riled thht

any statute repugnant to the Constitution is rR See Carol Ann Bond d
St Ct., 6/16/11. Lower courts have reel been warned not to attempt
Ovi Supreme Court precedent.

wee

c \
Thus, if the court declares the ar S\kvotous, despite the facts that
\

-772 failed to Constitutionally pass the Nouse on May 12, 1947, because no
was in place, and failed to properly be si into law on June 23, 1948, b
1 of the House and President of the Se gic, because no quorum was in plac&\bo

x

in ion of Article I, Section 5, Clause 1 of the Constitution, then the court h
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violated its oath of office and has created S tural Error and should be referred

1" Circuit for investigation for violation ath of office, for disbarment of the

jwgge, and for impeachment of the judge. The ming is conclusory and is only intended to
pho € court’s jurisdiction, which is i ble since the jurisdiction is void, ab initio

& a matter of law.
Case 1:10-cr-00317-REB Document 735-2 Filed 01/17/14 USDC Colorado Page 5 of 8

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The prosecutor is likewise in violation of their oath of office, as the prosecutor

   

wants to change the Constitution. Such a change requires a Constitutional quorum
andiyote of the people. Otherwise, the US Attorney has come with lack of candor to the

co d has failed to admit that the cougt lacked jurisdiction over this clai

   
  
 

Pp hould be referred to the atto for removal from office ded fo
re of his retirement benefits. (
he Governments Statements that the Questions Are Not Legal Questi
Is Unusual, But Without Merit.
¢ Government cites United StatesV. Chillemi, 2007 WL 2995726 SL\
pport of its argument that the , t’s questions are not legal “A
the

teresting, the court’s opinion in Qillemi carries no significance. First

  
  

case is district court opinion and carries n dent value. Second, the opiniga fails to
ss the issue presented, whether a viola the quorum clause on May 12,.N@47

repo e Congressional record wh IR Vote on the bill was 38 to 6 as 435

mewwbers were in Congress, and wee on June 23, 1948 as reported ine

Con jon@l record when the S

  
  

and President pro tempore of th
Sena ed the bill when Congress had «pletely and fully adjourned sine die \
violaig of the Constitution of the United sthes So what is the US Attorney tryiftg to

say? Vvernment can’t win the argumer So they revert to not relevant cases. Th

       
 

attorney should be sanctioned for lack of candOxto the court.

he Government Next States T he Challenge is Not a Legal Question

degree a cracker jack box? The ct lenge is very simple. No quorum on May 12,

1947 gud no quorum on June 23, 1948. Statute void, ab initio. Marshall
Case 1:10-cr-00317-REB Document 735-2 Filed 01/17/14 USDC Colorado Page 6 of 8

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Field does not apply by its own language. Besides, as presented herein, it was overruled

   

istinguished by Munos Flores and Clinton v. New York. This is a Constitutional

vidlation. Read my lips. A Constitutional Violation. Marshal Field does not apply. The

usage should again be sanctioned and
NS

These are not political questions, mo
1996%<Iike judicial principle that a court soe to decide issues involving \he

    
   

is pension removed.

Dictionary, Pocket Editi

ex of discretionary powers by the executi¥e or legislative branch of governmanq” \

Thi an issue that has been decided by “Rees or legislative brant

of ee In fact, repeated attempts to ha decided by those branches has
re in hothing but stonewalling. nent question to be resolved by th
court.

Nebr is very simple: Did Congress {diate Article I, Section 5, Clause 1 VN
lic

theAENgtion on May 1, 1947 and June 23 joa Either one, or both, renders Pub
La¥W80-772 and 18 USC 3231 void ab intitich. No Wrisdiction.

‘onclusion

government’s argument is enough to sanctions against the US
\
™. ot No quorum, violation of the

Attorney, & the court’s discretion. The issue is si \
con RS no law, no jurisdiction. Case closed.\RAjief granted. =

   
 

Respectfully submitted,
/s/
Ric. liogg Armstrong

#2041 Xs
Engle ederal Correctional Institution \ _

9595 Quincy Avenue
Littlet 80123

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Case 1:10-cr-00317-REB Document 735-2 Filed 01/17/14 USDC Colorado Page 7 of 8

Case 1:10-cr-00317-REB Document 393 Filed 01/11/12 USDC Colorado Page 6 of 7

CERTIFICATE OF SERVICE
Onthisthe /0 day of _,/ W420 (2, a true and correct copy of the
foregoing was served on opposing counsel by first class mail, postage prepaid.

[s /
Richard Kellogg Armstrong

 

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